         Case 1:19-cv-01439-RAH Document 22 Filed 11/05/20 Page 1 of 1




          In the United States Court of Federal Claims
                                         No. 19-1439
                                  Filed: November 5, 2020
                                 NOT FOR PUBLICATION


 JAMES K. BAER,

                   Plaintiff,

 v.

 UNITED STATES,

                   Defendant.


                                          ORDER

       For the reasons provided in the Memorandum Opinion filed concurrently with this Order,
the defendant’s motion to dismiss (ECF 7) is GRANTED, and the complaint (ECF 1) is
DISMISSED with prejudice, pursuant to Rule 12(b)(6) of the Rules of the Court of Federal
Claims. The Clerk shall enter final judgment accordingly. No costs are awarded.

       It is so ORDERED.

                                                                s/ Richard A. Hertling
                                                                Richard A. Hertling
                                                                Judge
